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                           IN THE UNITED STATES DISTRICT COURT
                          FOR THE NORTHERN DISTRICT OF ILLINOIS
                                     EASTERN DIVISION

Gloria A. Carter (Pro Se),                       )
                                                 )
                   Plaintiff,                    )
                                                 )      Case No.: 1:12-cv-08011
v.                                               )
                                                 )      Hon. Judge Virginia Kendall
Progressive Financial Services,                  )      Mag. Judge Arlander Keys
                                                 )
                   Defendant.                    )


                                                ORDER

         Pursuant to the Foregoing Unopposed Motion to Approve Stipulation and For Entry of an

Order of Dismissal of Claims brought pursuant to the parties’ Stipulation for Dismissal of Entire

Case, With Prejudice, and good cause appearing, it is hereby ORDERED that:

         1.        The Motion is granted;

         2.        The entire case is dismissed with prejudice.

         3.        Each party shall bear its own fees and costs.


IT IS SO ORDERED.


April 1, 2013                                            _____________________________
                                                         The Honorable Virginia M. Kendall
                                                         United States District Judge




4834-7777-5123.1
